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                                                                                             FILED
                                                                                     U.S . DISTRICT COUR T
      UNITED STATES DISTRICT COURT                                                      5 t. ;WWA H DIV .
                                                                                             Y .A

      SOUTHERN DISTRICT OF GEORGIA
           SAVANNAH DIVISIO N
                                                                                     101 OCT 22 AM U: 07
UNITED STATE S
                                                                                  CLERK
V. 405CRO59                                                                              SO . D(ST. OF GA .
                                                       their notes and satisfy their mortgages," doe . #
MARTIN J. Bradley, III, et al.
                                                       925 ¶ 7), the Receiver argues that only Griffin
                     ORDER                             maybe entitled to indemnification (and only for
                                                       her reasonable legal defense expenses, not
I . BACKGROUN D                                        automatic 100% loan forgiveness), for which
                                                       Court approval would be required in any event.
   This complex criminal RICO prosecution              Otherwise, it is time for Trespalacios and Rivera
arises from a prescription-drug-based fraud            to pay up. Doc . # 957 at 2 ¶ 8.
scheme advanced in varying degrees by
eight individual and two corporate defendants .           In response, Trespalacios moves the Court to
Doc . # 1 ; # 106 at 2 . A jury convicted Martin J .   strike the Receiver's motion outright. Doc. #
Bradley, Jr ., Martin J . Bradley, III, Albert         937 . "It is noteworthy," he says, tha t
Tellechea and Bio-Med Plus, Inc . (Bio-Med).
Doc . ## 738-41 . The Government then                     in the Receiver's .. . Motion, no mention is
sought criminal forfeiture but the parties --             ever made of the crucial fact that there is
including the two Bradley wives -- settled via            a previously filed and still pending Florida
Court-entered Consent Orders directing $39 .5             state court action in Miami-Dade County
million in forfeiture and, to that end, appointing        entitled Marta Alfonso, not Individually,
a Receiver and Monitor to marshal the                     but Solely in her Capacity as Receiver
defendants' forfeited assets, including Bio-Med           Over Martin J . Bradley, M, Martin J.
and its inventory. Doc . # 598 ("Consent                  Bradley, Jr . and Bio-Med Plus, Inc .,
Preliminary Order of Forfeiture") ; # 599 ("Order         Plaintiff v. Jose A . Trespalacios,
Appointing Receiver and Monitor") .                       Defendant, Case No . 06-24353 CA 06,
                                                          wherein the very subject matter presented
   In liquidating Bio-Med, the Receiver has               in the Receiver's Motion is also in issue .
been confronted by Bio-Med's loans to former
Bio-Med employees who were tried and                   Doc. # 937 at 1-2 ;' see also doe. # 957 at 2- 3
acquitted in this case : Sara E. Griffin
($255,357 .12), Jose A . Trespalacios
                                                         ' "The gravamen of the allegations of the Florida state
($527,844 .11) and Edwin Rivera, Jr .
                                                       court lawsuit," he says
($335,682 .40) . She seeks the Court's guidance
on that score. Doc. # 925 .                                    is that Trespalacios is responsible for
                                                               payment of promissory notes and
II. ANALYSIS                                                   mort gages purportedly executed in
                                                               favor of Bio-Med Plus, Inc . that relate
                                                               to the financing of attorney's fees and
   Moving the Court to determine whether they                  costs expended by the defense in the
are entitled to indemnification by Bio-Med                     prior criminal proceeding . The state
(thus, be excused from repaying those loans --                 lawsuit also assert s claims against real
all three "have requested the Receiver to cancel               property located in Miami-Dade
                                                               County, Florida . In the Receiver's
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    (the Receiver acknowledges that she "filed an                    -- in both cases -- to comply with the federal
    action in a Florida state court against                          statutory requirements necessary to pursue him
    Trespalacios to enforce promissory notes against                 in either forum . Doc . # 937 at 5 (citing 28
    [him] and to foreclose mortgages on [his] real                   U.S.C. §§ 754 and 1692) .2
    property in Florida . .. ....").

        Trespalacios also contends that this Court                    2 The Ninth Circuit recently explored this area :
    lacks jurisdiction -- he has been acquitted here,
    and no other process has since been served upon                          Congress has authorized federal
    him -- and the issue should be resolved in the                           receivers to exercise broad powers in
                                                                             administering, retrieving , and disposing
    pending state court action in any event . Id. at
                                                                             of assets belonging to the receivership.
    2. He thus charges the Receiver with                                     In 28 U.S .C. § 754, Congress has
    duplicative litigation : "Without question . .. the                      granted receivers authority to protect
    Florida state court action addresses the identical                       receivership "property, real, personal
    issues presented by the Receiver's Motion . . . .                        or mixed , situated in different
                                                                             districts ." Once appointed , in order to
    Moreover, the state lawsuit was purposefully
                                                                             preserve his claims, a receiver is to
    filed by the Receiver to collect monies allegedly                        "file copies of the complaint and [ the]
    due on a Florida promissory note, signed in                              order of appointment in the district
    Florida by a Florida resident with all payments,                         court for each district in which the
    if any, allegedly due in Florida . Id. at 5.                             property is located ." By doing so, a
                                                                             receiver obtains "complete jurisdiction
                                                                             and control" over receivership property
       Worse, he contends, she in effect seeks an                            in any district . Id. However, failure to
    "advisory" opinion from this court on Florida-                           file in any given district within ten days
    law governed issues . Id. at 6; see also doc . #                         of the receiver 's appointment generally
    936 and attached supporting exhibits .                                   "divest[s] the receiver of jurisdiction
                                                                             and control over all such property in
                                                                             that district ."     Id.   Section 1692
       And on top of all that, he contends, she faile d                      compliments § 754 . It provides that
                                                                             when "a receiver is appointed for
                                                                             proper ty, real, personal , or mixed,
                       Complaint filed in Flori da, no                       situated in different districts, process
                       showing has occurred wi th                            may issue and be executed in any such
                      respect to 28 U .S.C . §§ 754                          dist rict as if the proper ty lay wholly
                      or 1692 ( 2006 ) nor has the                           within one district ." 28 U.S.C. § 1692 .
                      Receiver ever claimed in any
                      pleadings , documents or                       S.E.C. v. Ross, - F .3d _, 2007 WL 2983707 at * 12
                      responses that she ever                        (9th Cir . 10/15/07) . As for § 1692, it and § 754
                      formally complied with ei ther
                      statute . Thus, the only                               permit the distr ict court to obtain
                      allegations of jurisdiction are                        jurisdiction in a district where
                      found in the state court                               receivership property is located so long
                      complaint and assert                                   as the receiver has properly filed
                      jurisdiction as being proper in                        pursuant to § 754 . . . . [For that matter,]
                      the Florida state court .                              § 1692 extends the territorial
                                                                             juri sdiction of the appointing court to
    Doc . # 937 at 2-3 ¶ 3 . Trespalacios says he answered and               any district of the United States where
    counterclaimed in the Florida court and invoked defenses                 property believed to be that of the
    under Florida law . Id. at 3 ¶ 4 .                                       receivership estate is found, provided

                                                                 2
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   Trespalacios, joined by Rivera, doc . # 939,                         employee of Bio-Med, the Receivership
therefore urges this Court to strike, if not deny,                      entity . Nor has Trespalacios alleged that
the Receiver's motion. Doc . # 937 at 11 .                              he served as an officer, director or
                                                                        employee of another company at the
   Not so fast, argues the Receiver . The debt he                       request of Bio-Med . Rather, Trespalacios
owes to Bio-Med is unconditional and in the                             has alleged two bases upon which he
state court action he raised the indemnification                        asserts he is entitled to indemnification
defense "as an afterthought" just "to create the                        from Bio-Med : (1) that he was an officer
appearance that this issue w as being litigated in                      and director of Bio-Med "subsidiaries"
another forum which had jurisdiction to decide                          Dena, Inc . ("Dena") and SeraTech, Inc .
the merits of this `claim ."' Doc . # 957 at 4 .                        ("SeraTech"); and (2) that he was an
The Receiver does not address the "Ross" filing                         "agent" of Bio-Med .. . . Further,
requirements discussed supra, n. 2, but instead                         Trespalacios asserts that the alleged
focuses on the merits . Trespalacios does not                           agency relationship with Bio-Med is a
assert, she points out,                                                 result of (1) the fact that the Receiver
                                                                        testified that Dena, SeraTech and Bio-Med
    that he was an officer, director o r                                were "related parties" for audit purposes ...
                                                                        and (2) that Trespalacios was alleged to
                                                                        have participated in a RICO enterprise
                    that the proper documents                           with Bio-Med . . . .
                    have been filed in each such
                    district as required by § 754 .
                    As with the nationwide
                                                                     Doc. # 962 at 1-2 . Flo rida law, she contends,
                    se rvice provision in the                        authorizes indemnification only if Trespalacios
                    Securi ties Act, where a party                   was a director , officer, employee or agent of
                    has been properly served by                      Bio-Med , or was serving at Bio-Med ' s request
                    the Receiver, the Due Process
                                                                     as a director, officer, employee or agent of
                    Clause is satisfied because the
                    party has minimum contacts                       another corporation , partnership, joint venture,
                    with the United States as a                      trust or other enterprise. Id. at 2 . Because
                    whole.                                           Trespalacios cites no facts supporting
                                                                     indemnification, she concludes , he is not
Id. (quotes, cites and alterations omitted ); see also S.E. C.       entitled to it and thus must repay his debt to
v. Bilzerian , 378 F .3d 1100, 1146 (D .C .Cir . 2004)
(District court that had appointed receiver to collect assets        Bio-Med. Id. And no legal authority, she points
needed to satisfy judgment obtained in SEC enforcement               out, supports indemnification merely for being
action had personal jurisdiction over non-resident holder            an officer or director of a Bio-Med subsidiary.
of receivership assets, regardless of whether holder had             Id.
any other contacts wi th forum , where receiver had timely
filed copy of complaint and appointment order in holder's
district and holder had been se rved wi th process ; so long
                                                                        As for Trespalacios's complaint that the
as filing requirement was met, appointing court's process            Receiver never mentioned the parallel state
extended to any judicial dist rict where receivership                court action in her opening motion/brief here,
property was found) ; War field v. Arpe, 2007 WL 549467,             the Receiver cites her disclosure of this matter
*4 (N.D .Tex. 2/22/07) (unpublished) ("the requirement
                                                                     in her 30-day Reports to this Court (they had
that the defendant have minimum contacts with a forum
state does not apply in a federal question case in which             gone unfiled at the time Trespalacios filed his
personal jurisdiction is attained pursu ant to a federal             brief, and it is apparent that Trespalacios neve r
statute authorizing nationwide serv ice of process") .

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saw them ; this Court has since directed that they            involves questions of Florida state
be filed, see doc. # 1028) . Doc. # 957 at 2 . She            substantive law that touch and concern
further asserts that                                          Florida personal real estate . Moreover,
                                                              the state lawsuit was purposefully filed by
   the Trespalacios state court action does                   the Receiver to collect monies allegedly
   not involve the same subject matter as the                 due on a Florida promissory note, signed
   Indemnification Motion [that she filed                     in Florida by a Florida resident with all
   here], save for a defense [there] by                       payments, if any, allegedly due in Florida .
   Trespalacios and his counsel that was not
   asserted until after the Receiver filed her             Id, at 3 ¶ 5 . Thus, the Receiver's "forum-
   Indemnification Motion [here] . The                     shopping" accusation is baseless, and if
   assertion of this defense [in the Florida               anything she is trying to misuse this Court for an
   court therefore] is an obvious attempt by               "advisory opinion" on Florida law . Id. at 6 .
   Trespalacios and his counsel to forum                   Because the Receiver has purposely invoked the
   shop, and have this indemnification issue               Florida state forum and that state's law, he
   decided by a state court judge who they                 concludes, this "Court should abstain from any
   perceive to be more sympathetic to their                ruling on the Receiver's Motion and instead
   position.                                               should strike the Motion in its entirety ." Id. at 5 .

Id. Finally, the Receiver argues, "this Court has             Much has happened since the Receiver filed
jurisdiction over Bio-Med's property, which is             motion # 925 . In fact, this Court has just issued
the subject of the Indemnification Motion, and             an Order (doc . # 1042) directing the parties to
Trespalacios has been afforded notice and an               update it on where the Receiver is asset-
opportunity to be heard which is all that due              liquidation-wise, and what specific classes of
process requires for general unsecured creditors           assets ("exempt" and "non-exempt") are now at
in his position ." Id. Thus, "this Court does not          stake . It is possible, the Court concluded, that
need personal jurisdiction over Trespalacios to            the Receiver may have (or soon may have)
decide the Indemnification Motion ." Id.                   collected more than all the forfeiture and
                                                           sentencing obligations ( some $72 million)
   Trespalacios points out , inter alia , that of          require. If that is the case, then it would be
course the Receiver is urging personal                     useful to know if it is still prudent for the
jurisdiction over him ( since both actions involve         Receiver3 to continue this pursuit .
the collection of Bio -Med's lo an to him, and
not some st andalone (in rem ) piece of prope rty.            Finally, the Ninth Circuit has just
Doc. # 965 at 4-6 ; doc . # 937 at 6. Yet, he is not       comprehensively explored Receivership
before this Court anymore, has not been served,            authority and personal jurisdiction in Ross. See
and sees no evidence that the Receiver has                 supra n . 2. The prerequisite statutory provisions
satisfied 28 U .S .C . §§ 754 and 1692 's filing           are not something to dismiss lightly, and yet
requirements. Id. at 5 ; see also supra n . 2.             Receiver has not fully addressed the debtors'
                                                           arguments on them .
   And, Trespalacios emph asizes, the Receiver
filed the Florida state court action, not him .
 Doc . # 937 at 2 . That state court action                  ' The Receivership thus far has cost more than $2
                                                           million. Doc . # 1042 at 11 .

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   Within 15 days of the date this Order is
served, then :

    (1) the Receiver shall update the Court on
    (a) the status of the aforementioned
    Florida action, (b) how much she has
    liquidated/collected to date, and (c) her
    response to Trespalacios's
    statutory/jurisdictional arguments in light
    ofRoss ;

   (2) the Government shall state its position
   on these matters, including whether
   Griffin is entitled to indemnification (no
   opposition brief has been filed on this
   point) and whether this Court's
   jurisdiction is sound ; and

   (3) Trespalacios and Rivera (and Griffin,
   for that matter) may file any
   updating/response briefs they choose,
   within 10 days of the date the Receiver
   and Government briefs are filed.'

   For the moment, then, the Court DEFERS
ruling on motions # 925 and # 937 .

   This 1-9-itay of October, 2007 .




B.'AVANT EDENFIELD,                      Q
UNITED STATES DISTRI
SOUTHERN DISTRIC T




  ' All parties are reminded that this Court has adopted its
liberal reply brief policy for this case . See doc . # 903 at
8.
